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                            Exhibit A
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   QSF-00393-V8




                  Characterization of
                       E-Liquid

                       Analytical Test Report




                           Prepared for Bidi Vapor LLC




Project Code: PQ1-E                                    Date: February 5, 2021
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2       USE OF LABSTAT'S 1 ANALYTICAL REPORTS

Unless otherwise specified by contract, our contractual obligations extend only to the provision of data and related
reports as required by Labstat's ISO 17025 accreditation. It should be noted that:

        LABSTAT makes no warranties on the CLIENT’S overall product(s). All LABSTAT reports on the results of
        product testing relate only to the sample(s) received and tested by LABSTAT at the time of testing. LABSTAT
        warrants that all sample(s) were tested in accordance with its Standard Test Procedures and in accordance
        with its ISO 17025 accreditation.

        Any report or results furnished by LABSTAT is furnished solely for the benefit of CLIENT and any of its
        Designated Representative(s) and shall be the confidential property of CLIENT. CLIENT shall not at any time
        misrepresent, amend, or alter the content of any report or other information received from or relating to
        LABSTAT or its work on behalf of CLIENT.

        Unless otherwise required by law, LABSTAT shall provide its report only to the Designated
        Representative(s).

        Any action taken by CLIENT based on results and reports designated by LABSTAT as “preliminary” or
        “verbal” or “partial” are at CLIENT’S own risk. However, any decision to recall or withdraw product based
        on test results is CLIENT’S sole responsibility and CLIENT shall bear all costs and liability related to any such
        decision.

        CLIENT shall not, without prior written consent of LABSTAT, use LABSTAT’s name, trademark, logo or any
        results or reports prepared by LABSTAT in connection with any sale, marketing or advertising. CLIENT shall
        not, under any circumstances, use LABSTAT’s name, trademark, logo or any results or report prepared by
        LABSTAT in any manner which may cause harm to LABSTAT’s reputation and/or business.

        CLIENTS that request a re-test agree to pay additional fee if LABSTAT confirms original findings.

        The CLIENT further agrees that it shall not release, nor authorize the release of, information in connection
        with any certificates of analysis for cannabis generated or provided by LABSTAT.

This report is the source document, and is considered to be the only official report of the results contained. Any
electronic export of these results must reference this document in full.




1
    Labstat International Inc.,

    262 Manitou Drive, Kitchener, ON Canada N2C lL3

    Phone: (519) 748-5409; Fax: (519) 748-1654; Email: labstat@labstat.com



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3     ADMINISTRATIVE INFORMATION

3.1     QUOTATION IDENTIFICATION

Quotation Number: 3509(5)

Date of Quotation: January 21, 2021

Recipient's Name: Niraj Patel

3.2     CLIENT IDENTIFICATION

Bidi Vapor LLC

4460 Old Dixie Hwy

Grant

Florida, USA, 32949

4     SAMPLE HANDLING

4.1     CHAIN OF CUSTODY

The samples to be tested for project PQ1-E were received on January 11, 2021 via FedEx and on January 18, 2021
via FedEx.

4.2     SAMPLE CHARACTERIZATION AND CODING


4.2.1 SAMPLE CHARACTERISTICS

The shipment received on January 11, 2021 consisted of one box for each of nine products. The shipment received
on January 18, 2021 consisted of one box for each of two products and additional sample for each of four
products. There was no physical damage to boxes. Individual test items were normal in appearance.


4.2.2 SAMPLE IDENTIFICATION

The following sample codes have been used to identify the products associated with the results in each of the
tables that are part of this report.

 Labstat Product ID          Product Type                       Client Product ID                Modifier
        1806524           Disposable E-Device                 POP - Banana Ice - 5%                Pod 1
        1806525           Disposable E-Device                 POP - Banana Ice - 5%                Pod 2
        1806526           Disposable E-Device                 POP - Banana Ice - 5%                Pod 3
        1806527           Disposable E-Device                 POP - Banana Ice - 5%             Pooled pods


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Labstat Product ID       Product Type                       Client Product ID         Modifier
    1806528           Disposable E-Device                HQD - Banana Ice - 5%          Pod 1
    1806529           Disposable E-Device                HQD - Banana Ice - 5%          Pod 2
    1806530           Disposable E-Device                HQD - Banana Ice - 5%          Pod 3
    1806531           Disposable E-Device                HQD - Banana Ice - 5%       Pooled pods
    1806532           Disposable E-Device                HQD - Blueberry - 5%           Pod 1
    1806533           Disposable E-Device                HQD - Blueberry - 5%           Pod 2
    1806534           Disposable E-Device                HQD - Blueberry - 5%           Pod 3
    1806535           Disposable E-Device                HQD - Blueberry - 5%        Pooled pods
    1806536           Disposable E-Device             KANGVAPE - Banana Ice - 5%        Pod 1
    1806537           Disposable E-Device             KANGVAPE - Banana Ice - 5%        Pod 2
    1806538           Disposable E-Device            KANGVAPE - Banana Ice - 5%         Pod 3
    1806539           Disposable E-Device            KANGVAPE - Banana Ice - 5%      Pooled pods
    1806540           Disposable E-Device          KANGVAPE - Blueberry Lemon - 5%      Pod 1
    1806541           Disposable E-Device          KANGVAPE - Blueberry Lemon - 5%      Pod 2
    1806542           Disposable E-Device          KANGVAPE - Blueberry Lemon - 5%      Pod 3
    1806543           Disposable E-Device          KANGVAPE - Blueberry Lemon - 5%   Pooled pods
    1806544           Disposable E-Device               POP - Lush Ice - 5%             Pod 1
    1806545           Disposable E-Device               POP - Lush Ice - 5%             Pod 2
    1806546           Disposable E-Device               POP - Lush Ice - 5%             Pod 3
    1806547           Disposable E-Device               POP - Lush Ice - 5%          Pooled pods
    1806548           Disposable E-Device           MNGO - Blueberry - Mango - 6%       Pod 1
    1806549           Disposable E-Device           MNGO - Blueberry - Mango - 6%       Pod 2
    1806550           Disposable E-Device           MNGO - Blueberry - Mango - 6%       Pod 3
    1806551           Disposable E-Device           MNGO - Blueberry - Mango - 6%    Pooled pods
    1806552           Disposable E-Device             MNGO - Iced Banana - 6%           Pod 1
    1806553           Disposable E-Device             MNGO - Iced Banana - 6%           Pod 2
    1806554           Disposable E-Device             MNGO - Iced Banana - 6%           Pod 3
    1806555           Disposable E-Device             MNGO - Iced Banana - 6%        Pooled pods
    1806556           Disposable E-Device           MNGO - Strawberry - Mango - 6%      Pod 1
    1806557           Disposable E-Device           MNGO - Strawberry - Mango - 6%      Pod 2
    1806558           Disposable E-Device           MNGO - Strawberry - Mango - 6%      Pod 3
    1806559           Disposable E-Device           MNGO - Strawberry - Mango - 6%   Pooled pods
    1806560           Disposable E-Device            BARE FLOW - Lemon Ice - 5%         Pod 1
    1806561           Disposable E-Device            BARE FLOW - Lemon Ice - 5%         Pod 2
    1806562           Disposable E-Device             BARE FLOW - Lemon Ice - 5%        Pod 3
    1806563           Disposable E-Device             BARE FLOW - Lemon Ice - 5%     Pooled pods
    1806564           Disposable E-Device             BARE FLOW - Mango Ice - 5%        Pod 1
    1806565           Disposable E-Device             BARE FLOW - Mango Ice - 5%        Pod 2
    1806566           Disposable E-Device             BARE FLOW - Mango Ice - 5%        Pod 3
    1806567           Disposable E-Device             BARE FLOW - Mango Ice - 5%     Pooled pods



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4.2.3 PHYSICAL MEASUREMENTS

Physical measurements were made on all test items and no unusual findings were noted.

5         PROJECT-SPECIFIC INSTRUCTIONS

No special instructions, with respect to the selection of the test sample and/or compositing, were received.

6         EXPERIMENTAL DESIGN AND METHODS

The following is a summary of the instructions that have been received from the client in regard to the puffing and
analysis of the e-cigarette products in this project.

6.1        ANALYTICAL METHODS 2


6.1.1 E-LIQUID ANALYSIS

Test methods for the analysis of e-liquid are referenced in the tables below, and the test method modifications
listed in this report have been validated and were practiced as written unless otherwise indicated.

                       METHODS FOR THE COLLECTION OF CONSTITUENT DATA ON E-LIQUIDS

                                                     Labstat
Item                   Constituent                                                         Method Description
                                                     Method

                                                                     Determination of NFDPM, Nicotine, CO, Water and Humectants
                                                    TMS-00115a
     1.     Nicotine                                                 (Additives) in E-Liquids and Emissions from E-Cigarettes, Heat-Not-
                                                     Appendix E
                                                                     Burn Products, Cannabis and Tobacco
                                                                     Gravimetric Determination of the Density of Homogenous Liquids by
     3.     Density                                  TEL-00001
                                                                     Pycnometer




2   The most current version available at the time of testing was used for all test methods listed.




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6.1.2 METHOD REFERENCES AND SYNOPSES


6.1.2.1 MAINSTREAM NICOTINE, NFDPM, CO, HUMECTANTS, TRIACETIN, AND MENTHOL
        (LABSTAT METHOD TMS-00115A APPENDIX E)

6.1.2.1.1 METHOD SYNOPSIS FOR E-LIQUIDS

E-liquid was mixed with an IPA solution containing internal standard (trans-Anethole) using a platform shaker. The
extracts were analyzed by GC-FID using a wax capillary column or equivalent.


6.1.2.2 DENSITY (LABSTAT METHOD TEL-00001)

6.1.2.2.1 METHOD SYNOPSIS

A clean and dry 2mL or 10mL pycnometer was weighed using an analytical balance. The pycnometer was filled with
Type I water of known temperature and weighed, to determine the mass of the water. The pycnometer was then
emptied, dried, and filled with a homogenous solution of interest before being weighed again. The density of
the solution of interest was determined using the volumes and observed masses.


6.1.2.2.2 E-LIQUID EXTRACTION FROM CARTOMIZERS

Extraction of e-liquid from cartomizers was carried by using centrifuge. Centrifugation all happened at 4500rpm for
5 minutes in falcon tubes with entire device in the tube. For cartomizers that did not produce liquid from just
centrifugation, the cartomizers were deconstructed as follows prior centrifugation:

        Mouth end piece was removed by pulling off the end using side cutters
        All internal components other than battery were pulled out (silicone rings, and wads) using tweezers and
        put into the falcon tube
        Then spun down in the centrifuge along with all other components as there was liquid still on the inside of
        the device cavity

It must be noted however that the procedures described above were not successful in removing all the e-liquid
from the devices. Additional attempts to evaluate the amount of e-liquid remaining in the devices by attempting a
solvent extraction, were unsuccessful due to the nature of the products tested.

6.2    METHOD MODIFICATIONS

Methods were followed as written (see Section 6).




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7       ACCEPTANCE OF DATA

7.1         EVALUATION OF RESULTS FROM CONTROL SAMPLES

The control article routinely used for the chemistry analysis of tobacco products is a reference product tobacco
matrix (such as 3R4F). As the tobacco matrix is unlikely to be representative of e-cigarettes, this type of control
article is not used to assess method performance for the e-cigarettes. Instead, the decision to accept or reject the
data is made upon the ability of the method to recover the analyte of interest either in the form of a laboratory
fortified blank (LFB) or laboratory fortified matrix (LFM). Acceptable recoveries are close to 100%, but vary
depending on the analyte.

7.2         IDENTIFICATION OF OUTLIERS 3


7.2.1 OUTLIER DEFINITION
An outlying observation, or "outlier," is one that appears to deviate markedly from other members of the sample
in which it occurs. In this case, there are two alternatives:
       1.    An outlying observation may be merely an extreme manifestation of the random variability inherent in
             the data. If this is true, the value is retained and processed in the same manner as the other observations
             in the sample.
       2.    The observation may be the result of gross deviation from prescribed experimental procedure or an error
             in calculating or recording the numerical value. In such cases, an investigation must be carried out. When
             the experimenter is clearly aware that a gross deviation from prescribed experimental procedure has
             taken place, the resultant observation is discarded (assignable cause) without recourse to a statistical test.
             A statistical test may always be used to support a judgment that a physical reason does actually exist for
             an outlier, or the statistical criterion may be used routinely as a basis to initiate action to find a physical
             cause.


7.2.2 STATISTICAL CRITERIA

There are a number of criteria for testing outliers. In all of these, the doubtful observation is included in the
calculation of the numerical value of a sample criterion (or statistic) that is then compared with a critical value. The
critical value is that which would be exceeded by chance with some specified (small) probability on the assumption
that all the observations did indeed constitute a random sample from a single parent population, distribution or
universe. The specified small probability is called the "significance level" and can be thought of as the risk of
erroneously rejecting a good observation. A level of significance of 0.02 has been chosen in conjunction with the
statistical test and tables described in ASTM E178-08 4.




3
 The term "outlier" has been defined in International Standard ISO 3534-1:2006 entitled "Statistics - Vocabulary and symbols -
Part 1: General statistical terms and terms used in probability"

4
    ASTM Designation: E178-08. Standard Practice for Dealing with Outlying Observations




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Significant departures from the expected results (i.e. “outliers”) are viewed seriously, requiring an investigation for
an assignable cause. This is a documented procedure that, at a minimum, consists of the following steps:

      1.    Review of all associated calculations to ensure that arithmetic errors have not been made
      2.    Review of linearity range for any standards
      3.    Assessment of instrument status
      4.    Review of reagents, columns, standards etc. to ensure that contamination or decomposition has not
            occurred
      5.    Review of sample preparation and handling procedures as they relate to the result in question

If the outlier is present in the analyte data and an assignable cause is found, the test result is removed from the
data set but recorded in the quality control section of the laboratory’s record of test results for that project. The
analysis must then be repeated. If the outlier is present in the ancillary 5 data and an assignable cause is found, the
test result is not removed, but rather the outlying observation is replaced by the designation “AC” (Assignable
Cause). If this investigation fails to determine an assignable cause, the test result is assumed to be a legitimate
member of the data set and is included in all subsequent calculations.

8     RESULTS

8.1        QUALITY CONTROL

The control results for the variables of interest were acceptable as defined in section 7.1. Consequently it is
reasonable to assume that the values determined for the test samples are reflective of the characteristics of the
products as received and tested as described in the Analytical Methods section.

8.2        ANALYTICAL DATA

Individual results and the corresponding sample statistics (consisting of means, standard deviations, and
coefficients of variation or 95% confidence limits) may be found in the data file, labeled PQ1-E_el_dataCF.xls,
which accompanies this report.


8.2.1 SAMPLE STATISTIC CALCULATIONS

In cases where a sample result is below the limit of detection (LOD), the average of the value zero (0) and the LOD
is used in the sample statistic calculation. In cases where a sample result is between the LOD and the limit of
quantification (LOQ), the average of the LOD and the LOQ is used in the sample statistic calculation.




5
 Data, which are related, but not normally required as part of the reporting process (e.g. puff counts, TPM, cigarette weights
etc.). Outliers in the analyte data that have an assignable cause are always repeated.




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9    ACCREDITATION

Labstat International Inc. has been accredited by the Standards Council of Canada to International Standard
ISO/IEC 17025 "General requirements for the competence of testing and calibration laboratories" with a scope that
includes all of the mandated tobacco-related Health Canada methods (see Tobacco Reporting Regulations dated 04
March 2019, Canada Gazette, Part II, Volume 153, Number 6, Schedules 1, 2 and 3). The testing included in this
report is within the scope of this accreditation, unless otherwise noted.




10 AUTHORIZATION

This report has been reviewed by me and is certified, to the best of my knowledge, to be a true and accurate
description of the procedures, protocols and test methods used to arrive at the data and/or findings that
accompany this report.

Dated: February 5, 2021




Mingliang Bao, Ph.D.

Principal Scientist,

Labstat International Inc.

11 APPENDIX A: “RAW” DATA AND SUMMARY STATISTICS


See Accompanying Data Files or Enclosed CD




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  Use of Labstat's1 Analytical Reports2
  Unless otherwise specified by contract, our contractual obligations extend only to the provision of data and
  related reports as required by Labstat's ISO 17025 accreditation. It should be noted that:
       LABSTAT makes no warranties on the CLIENT’S overall product(s). All LABSTAT reports on
       the results of product testing relate only to the sample(s) received and tested by LABSTAT at
       the time of testing. LABSTAT warrants that all sample(s) were tested in accordance with its
       Standard Test Procedures and in accordance with its ISO 17025 accreditation.
       Any report or results furnished by LABSTAT is furnished solely for the benefit of the CLIENT
       and any of its Designated Representative(s) and shall be the confidential property of the
       CLIENT. The CLIENT shall not at any time misrepresent, amend, or alter the content of any
       report or other information received from or relating to LABSTAT or its work on behalf of the
       CLIENT.
       Unless otherwise required by law, LABSTAT shall provide its report only to the Designated
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       “preliminary” or “verbal” or “partial” are at the CLIENT’S own risk. However, any decision to
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       CLIENT shall bear all costs and liability related to any such decision.
       The CLIENT shall not, without prior written consent of LABSTAT, use LABSTAT’s name,
       trademark, logo or any results or reports prepared by LABSTAT in connection with any sale,
       marketing or advertising. The CLIENT shall not, under any circumstances, use LABSTAT’s
       name, trademark, logo or any results or report prepared by LABSTAT in any manner which
       may cause harm to LABSTAT’s reputation and/or business.
       CLIENTS that request a re-test agree to pay an additional fee if LABSTAT confirms original
       findings.
       The CLIENT further agrees that it shall not release, nor authorize the release of, information in
       connection with any certificates of analysis for cannabis generated or provided by LABSTAT.
  This report is the source document, and is considered to be the only official report of the results contained.
  Any electronic export of these results must reference this document in full.




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                                               QSF-00330a-V6                            Labstat International Inc.
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                                            Attribution Policy

    Labstat International Inc. ("Labstat") is a private independent analytical laboratory whose services are
    generally limited to the analysis of tobacco and tobacco related products ("product") provided by
    clients. Neither Labstat, as a company, nor its personnel, as individuals, participate in product
    development, product preparation or the design of experiments related to product characteristics. It is
    for this reason that the company does not allow the use of its name (Labstat International Inc.), any
    part of its name, its address (262 Manitou Drive, Kitchener, Ontario Canada), or any part of its
    address, its logo (as shown below) or the name of any of its employees to be used in either indirect or
    direct product marketing or advertising including but not limited to press releases, advertisements in
    the print media, or public statements regarding product attributes based on test results.




                                              QSF-00330b-V6                           Labstat International Inc.
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    Sample           Product                     Client                            Modifier
      ID              Type                     Product ID

     1806524     Disposable E-Device        POP - Banana Ice - 5%             POP - Banana Ice - 5%
     1806525     Disposable E-Device        POP - Banana Ice - 5%             POP - Banana Ice - 5%
     1806526     Disposable E-Device        POP - Banana Ice - 5%             POP - Banana Ice - 5%
     1806528     Disposable E-Device       HQD - Banana Ice - 5%             HQD - Banana Ice - 5%
     1806529     Disposable E-Device       HQD - Banana Ice - 5%             HQD - Banana Ice - 5%
     1806530     Disposable E-Device       HQD - Banana Ice - 5%             HQD - Banana Ice - 5%
     1806532     Disposable E-Device         HQD - Blueberry - 5%              HQD - Blueberry - 5%
     1806533     Disposable E-Device         HQD - Blueberry - 5%              HQD - Blueberry - 5%
     1806534     Disposable E-Device         HQD - Blueberry - 5%              HQD - Blueberry - 5%
     1806536     Disposable E-Device     KANGVAPE - Banana Ice - 5%        KANGVAPE - Banana Ice - 5%
     1806537     Disposable E-Device     KANGVAPE - Banana Ice - 5%        KANGVAPE - Banana Ice - 5%
     1806538     Disposable E-Device     KANGVAPE - Banana Ice - 5%        KANGVAPE - Banana Ice - 5%
     1806540     Disposable E-Device   KANGVAPE - Blueberry Lemon - 5%   KANGVAPE - Blueberry Lemon - 5%
     1806541     Disposable E-Device   KANGVAPE - Blueberry Lemon - 5%   KANGVAPE - Blueberry Lemon - 5%
     1806542     Disposable E-Device   KANGVAPE - Blueberry Lemon - 5%   KANGVAPE - Blueberry Lemon - 5%
     1806544     Disposable E-Device         POP - Lush Ice - 5%               POP - Lush Ice - 5%
     1806545     Disposable E-Device         POP - Lush Ice - 5%               POP - Lush Ice - 5%
     1806546     Disposable E-Device         POP - Lush Ice - 5%               POP - Lush Ice - 5%
     1806548     Disposable E-Device    MNGO - Blueberry - Mango - 6%     MNGO - Blueberry - Mango - 6%
     1806549     Disposable E-Device    MNGO - Blueberry - Mango - 6%     MNGO - Blueberry - Mango - 6%
     1806550     Disposable E-Device    MNGO - Blueberry - Mango - 6%     MNGO - Blueberry - Mango - 6%
     1806552     Disposable E-Device      MNGO - Iced Banana - 6%           MNGO - Iced Banana - 6%
     1806553     Disposable E-Device      MNGO - Iced Banana - 6%           MNGO - Iced Banana - 6%
     1806554     Disposable E-Device      MNGO - Iced Banana - 6%           MNGO - Iced Banana - 6%
     1806556     Disposable E-Device    MNGO - Strawberry - Mango - 6%    MNGO - Strawberry - Mango - 6%
     1806557     Disposable E-Device    MNGO - Strawberry - Mango - 6%    MNGO - Strawberry - Mango - 6%
     1806558     Disposable E-Device    MNGO - Strawberry - Mango - 6%    MNGO - Strawberry - Mango - 6%
     1806560     Disposable E-Device     BARE FLOW - Lemon Ice - 5%        BARE FLOW - Lemon Ice - 5%
     1806561     Disposable E-Device     BARE FLOW - Lemon Ice - 5%        BARE FLOW - Lemon Ice - 5%
     1806562     Disposable E-Device     BARE FLOW - Lemon Ice - 5%        BARE FLOW - Lemon Ice - 5%
     1806564     Disposable E-Device     BARE FLOW - Mango Ice - 5%        BARE FLOW - Mango Ice - 5%
     1806565     Disposable E-Device     BARE FLOW - Mango Ice - 5%        BARE FLOW - Mango Ice - 5%
     1806566     Disposable E-Device     BARE FLOW - Mango Ice - 5%        BARE FLOW - Mango Ice - 5%




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       Limits of Detection (LOD) and Limits of Quantification (LOQ) Determined for
                             Selected Constituents in E-Liquid

                                                                                                                        E-Liquid
        Test Method                                Analyte                                Units
                                                                                                                 LOD                LOQ

                                 Nicotine
        TMS-00115a                                                   Nicotine       mg/g (as rec'd)              0.067              0.224



    LOD Definition: The limit of detection (LOD) for a particular analyte is a statistically defined decision point that, with a specified
    probability, measured results falling at or above this point are interpreted to indicate an analyte concentration greater than zero
    within the sample.

    LOQ Definition: The limit of quantification for a particular analyte is another statistically defined decision point that results falling
    at or above this point can be assigned a statistically significant numerical value with an associated level of precision. Values
    falling between the LOD and LOQ are interpreted as a positive but not quantifiable result for the analyte in question.




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Matrix Sample                     Nicotine
Code     ID                        [mg/g]
                 Average St Dev L. Limit (95%) U. Limit (95%)
  EL     1806524 41.5     0.2        40.9           42.1
  EL     1806525 40.3     0.2        39.7           40.9
  EL     1806526 41.6     0.2        41.2           42.0
  EL     1806528 41.7     0.5        40.5           43.0
  EL     1806529 41.9     0.7        40.0           43.7
  EL     1806530 42.0     0.1        41.8           42.2
  EL     1806532 49.6     0.3        48.9           50.3
  EL     1806533 48.9     0.4        47.8           49.9
  EL     1806534 49.2     0.7        47.4           50.9
  EL     1806536 50.2     0.3        49.6           50.9
  EL     1806537 49.6     0.5        48.4           50.9
  EL     1806538 49.0     0.4        48.0           50.0
  EL     1806540 50.0     0.3        49.3           50.8
  EL     1806541 48.7     0.6        47.3           50.0
  EL     1806542 49.5     0.2        48.9           50.0
  EL     1806544 41.7     0.2        41.1           42.2
  EL     1806545 41.2     0.6        39.7           42.7
  EL     1806546 36.9     1.0        34.4           39.5
  EL     1806548 33.8     0.3        33.1           34.6
  EL     1806549 33.4     0.3        32.5           34.2
  EL     1806550 34.3     0.3        33.6           35.0
  EL     1806552 32.7     0.5        31.3           34.0
  EL     1806553  30.7    0.5        29.5           31.9
  EL     1806554 30.6     1.7        26.3           34.9
  EL     1806556 31.6     0.2        31.1           32.1
  EL     1806557 31.4     0.1        31.1           31.7
  EL     1806558 31.6     0.1        31.3           31.9
  EL     1806560 42.1     0.0        42.0           42.2
  EL     1806561 41.6     0.3        40.8           42.4
  EL     1806562 41.5     0.2        41.0           42.1
  EL     1806564 41.0     0.1        40.7           41.4
  EL     1806565 41.6     0.8        39.8           43.5
  EL     1806566 41.1     0.1        40.8           41.5

Glossary of Abbreviations
L. Limit (95%): lower limit of the 95% confidence interval
U. Limit (95%): upper limit of the 95% confidence interval




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                                                    Nicotine Content of E-Liquid:
                                                        ('As Received') Basis

                                                      Sample           Nicotine
                                                        ID              [mg/g]

                                                      1806524            41 6
                                                      1806524            41 6
                                                      1806524            41 2

                                                      Average            41 5
                                                      Std Dev             02
                                                    L Limit (95%)        40 9
                                                    U Limit (95%)        42 1

                                                      1806525            40 6
                                                      1806525            40 1
                                                      1806525            40 2

                                                      Average            40 3
                                                      Std Dev             02
                                                    L Limit (95%)        39 7
                                                    U Limit (95%)        40 9

                                                      1806526            41 5
                                                      1806526            41 6
                                                      1806526            41 8

                                                      Average            41 6
                                                      Std Dev             02
                                                    L Limit (95%)        41 2
                                                    U Limit (95%)        42 0

                                                      1806528            41 5
                                                      1806528            41 4
                                                      1806528            42 3

                                                      Average            41 7
                                                      Std Dev             05
                                                    L Limit (95%)        40 5
                                                    U Limit (95%)        43 0

                                                      1806529            41 0
                                                      1806529            42 5
                                                      1806529            42 0

                                                      Average            41 9
                                                      Std Dev             07
                                                    L Limit (95%)        40 0
                                                    U Limit (95%)        43 7

                                                      1806530            42 0
                                                      1806530            42 1
                                                      1806530            41 9

                                                      Average            42 0
                                                      Std Dev             01
                                                    L Limit (95%)        41 8
                                                    U Limit (95%)        42 2

                                                      1806532            49 8
                                                      1806532            49 7
                                                      1806532            49 3

                                                      Average            49 6
                                                      Std Dev             03
                                                    L Limit (95%)        48 9
                                                    U Limit (95%)        50 3

                                                      1806533            49 3
                                                      1806533            48 5
                                                      1806533            48 7

                                                      Average            48 9
                                                      Std Dev             04
                                                    L Limit (95%)        47 8
                                                    U Limit (95%)        49 9

                                                      1806534            50 0
                                                      1806534            48 9
                                                      1806534            48 6

                                                      Average            49 2
                                                      Std Dev             07
                                                    L Limit (95%)        47 4
                                                    U Limit (95%)        50 9

                                                      1806536            50 5
                                                      1806536            50 2
                                                      1806536            50 0

                                                      Average            50 2
                                                      Std Dev             03
                                                    L Limit (95%)        49 6
                                                    U Limit (95%)        50 9

                                                      1806537            50 0
                                                      1806537            49 0
                                                      1806537            49 8

                                                      Average            49 6
                                                      Std Dev             05
                                                    L Limit (95%)        48 4
                                                    U Limit (95%)        50 9

                                                      1806538            48 6
                                                      1806538            49 0
                                                      1806538            49 4

                                                      Average            49 0
                                                      Std Dev             04
                                                    L Limit (95%)        48 0
                                                    U Limit (95%)        50 0

                                                      1806540            50 3
                                                      1806540            50 0
                                                      1806540            49 7

                                                      Average            50 0
                                                      Std Dev             03
                                                    L Limit (95%)        49 3
                                                    U Limit (95%)        50 8

                                                      1806541            49 2
                                                      1806541            48 1
                                                      1806541            48 6

                                                      Average            48 7
                                                      Std Dev             06
                                                    L Limit (95%)        47 3
                                                    U Limit (95%)        50 0

                                                      1806542            49 4
                                                      1806542            49 3
                                                      1806542            49 7

                                                      Average            49 5
                                                      Std Dev             02
                                                    L Limit (95%)        48 9
                                                    U Limit (95%)        50 0

                                                      1806544            41 9
                                                      1806544            41 7
                                                      1806544            41 4

                                                      Average            41 7
                                                      Std Dev             02
                                                    L Limit (95%)        41 1
                                                    U Limit (95%)        42 2

                                                      1806545            41 6
                                                      1806545            41 4
                                                      1806545            40 5

                                                      Average            41 2
                                                      Std Dev             06
                                                    L Limit (95%)        39 7
                                                    U Limit (95%)        42 7

                                                      1806546            35 8
                                                      1806546            37 7
                                                      1806546            37 4

                                                      Average            36 9
                                                      Std Dev             10
                                                    L Limit (95%)        34 4
                                                    U Limit (95%)        39 5

                                                      1806548            34 2
                                                      1806548            33 6
                                                      1806548            33 7

                                                      Average            33 8
                                                      Std Dev             03
                                                    L Limit (95%)        33 1
                                                    U Limit (95%)        34 6

                                                      1806549            33 5
                                                      1806549            33 7
                                                      1806549            33 0

                                                      Average            33 4
                                                      Std Dev             03
                                                    L Limit (95%)        32 5
                                                    U Limit (95%)        34 2

                                                      1806550            34 5
                                                      1806550            34 4
                                                      1806550            34 0

                                                      Average            34 3
                                                      Std Dev             03
                                                    L Limit (95%)        33 6
                                                    U Limit (95%)        35 0

                                                      1806552            32 1
                                                      1806552            32 9
                                                      1806552            33 1

                                                      Average            32 7
                                                      Std Dev             05
                                                    L Limit (95%)        31 3
                                                    U Limit (95%)        34 0

                                                      1806553            31 0
                                                      1806553            30 1
                                                      1806553            30 9

                                                      Average            30 7
                                                      Std Dev             05
                                                    L Limit (95%)        29 5
                                                    U Limit (95%)        31 9

                                                      1806554            32 6
                                                      1806554            29 6
                                                      1806554            29 7

                                                      Average            30 6
                                                      Std Dev             17
                                                    L Limit (95%)        26 3
                                                    U Limit (95%)        34 9

                                                      1806556            31 8
                                                      1806556            31 6
                                                      1806556            31 4

                                                      Average            31 6
                                                      Std Dev             02
                                                    L Limit (95%)        31 1
                                                    U Limit (95%)        32 1

                                                      1806557            31 3
                                                      1806557            31 5
                                                      1806557            31 5

                                                      Average            31 4
                                                      Std Dev             01
                                                    L Limit (95%)        31 1
                                                    U Limit (95%)        31 7

                                                      1806558            31 7
                                                      1806558            31 7
                                                      1806558            31 5

                                                      Average            31 6
                                                      Std Dev             01
                                                    L Limit (95%)        31 3
                                                    U Limit (95%)        31 9

                                                      1806560            42 0
                                                      1806560            42 1
                                                      1806560            42 1

                                                      Average            42 1
                                                      Std Dev             00
                                                    L Limit (95%)        42 0
                                                    U Limit (95%)        42 2

                                                      1806561            41 6
                                                      1806561            41 3
                                                      1806561            42 0

                                                      Average            41 6
                                                      Std Dev             03
                                                    L Limit (95%)        40 8
                                                    U Limit (95%)        42 4

                                                      1806562            41 6
                                                      1806562            41 7
                                                      1806562            41 3

                                                      Average            41 5
                                                      Std Dev             02
                                                    L Limit (95%)        41 0
                                                    U Limit (95%)        42 1

                                                      1806564            41 1
                                                      1806564            40 9
                                                      1806564            41 1

                                                      Average            41 0
                                                      Std Dev             01
                                                    L Limit (95%)        40 7
                                                    U Limit (95%)        41 4

                                                      1806565            42 2
                                                      1806565            42 0
                                                      1806565            40 8

                                                      Average            41 6
                                                      Std Dev             08
                                                    L Limit (95%)        39 8
                                                    U Limit (95%)        43 5

                                                      1806566            41 2
                                                      1806566            41 3
                                                      1806566            41 0

                                                      Average            41 1
                                                      Std Dev             01
                                                    L Limit (95%)        40 8
                                                    U Limit (95%)        41 5




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